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                                          EXHIBIT A

                                        Proposed Order




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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

In re:                                                               Chapter 15

NEXII BUILDING SOLUTIONS INC.,                                       Case No. 24-10026

                    Debtor in a Foreign Proceeding.

In re:                                                               Chapter 15

NEXII CONSTRUCTION INC.,                                             Case No. 24-10027

                    Debtor in a Foreign Proceeding.

In re:                                                               Chapter 15

NBS IP INC.,                                                         Case No. 24-10028

                    Debtor in a Foreign Proceeding.

In re:                                                               Chapter 15

NEXII HOLDINGS INC.,                                                 Case No. 24-10025

                    Debtor in a Foreign Proceeding.


                    ORDER (I) DIRECTING JOINT ADMINISTRATION OF
              CASES UNDER CHAPTER 15 OF THE BANKRUPTCY CODE AND (II)
            AUTHORIZING FOREIGN REPRESENTATIVE TO FILE CONSOLIDATED
            LISTS OF INFORMATION REQUIRED BY BANKRUPTCY RULE 1007(A)(4)

         Upon the motion (the “Motion”) 1 of the Foreign Representative of the above-captioned

debtors (collectively, the “Debtors”) for entry of an order (this “Order”): (a) directing the joint

administration of these Chapter 15 Cases for procedural purposes only; and (b) authorizing the Foreign

Representative to file consolidated lists of information required by Bankruptcy Rule 1007(a)(4);

the Court having jurisdiction to consider the Motion and the relief requested therein pursuant to 28




1 Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.
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    U.S.C. §§ 157 and 1334, and 11 U.S.C. §§ 105, 109 and 1501 and Local Rule 1015-1; venue being

    proper before the Court pursuant to § 1410(1) and (3); and that this Court may enter a final order

    consistent with Article III of the United States Constitution; adequate and sufficient notice of the filing

    of the Motion having been given by the Foreign Representative; it appearing that the relief requested in

    the Motion is necessary and beneficial to the Debtors; and no objections or other responses having been

    filed that have not been overruled, withdrawn, or otherwise resolved; and after due deliberation and

    sufficient cause appearing therefor, it is hereby ORDERED that:

             1.          The Motion is granted as set forth herein.

             2.          These Chapter 15 Cases shall be, and they hereby are, consolidated pursuant to

    Bankruptcy Rule 1015(b), for procedural purposes only, and shall be jointly administered by the Court

    under Case No. 24-10026.

             3.          The caption of each of these Chapter 15 Cases shall be modified to reflect the joint

    administration of these cases, as follows:

                                      IN THE UNITED STATES BANKRUPTCY COURT
                                           FOR THE DISTRICT OF DELAWARE

    In re:                                                                  Chapter 15

    NEXII BUILDING SOLUTIONS INC., et al.,1                                 Case No. 24-10026

                        Debtors in a Foreign Proceeding.                    (Jointly Administered)


1
     The Debtors in these chapter 15 cases (the “Chapter 15 Cases”), along with the last four digits of each Debtor’s unique
    identifier, are Nexii Building Solutions Inc. (0911), Nexii Construction Inc. (1333), NBS IP Inc. (9930), and Nexii Holdings
    Inc. (5873). The Debtors’ service address for purposes of these Chapter 15 Cases is 1455 West Georgia Street, #200,
    Vancouver, British Columbia V6G 2T3.

             4.          The foregoing caption satisfies the requirements set forth in section 342(c)(1) of the


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Bankruptcy Code.

          5.         A docket entry shall be made in each of the above captioned chapter 15 cases, other

than on the docket of the case of Nexii Building Solutions Inc., to reflect the joint administration of

these cases:

           An order has been entered in this case directing the procedural consolidation and joint
           administration of the Chapter 15 Cases of: Nexii Building Solutions Inc. (24-10026),
           Nexii Construction Inc. (24-10027), NBS IP Inc. (24-10028), and Nexii Holdings Inc.
           (24-10025). The docket in Case No. 24-10026 should be consulted for all matters
           affecting this case. All further pleadings and other papers shall be filed in and all
           further docket entries shall be made in Case No. 24-10026.

          6.         The Foreign Representative shall maintain, and the clerk of the Court shall keep, one

consolidated docket, one file, and one consolidated service list in these Chapter 15 Cases. The Foreign

Representative is authorized to send, as applicable, combined notices to the Debtors’ creditors and other

parties in interest.

          7.         Nothing contained in the Motion or this Order shall be deemed or construed as directing

or otherwise effecting a substantive consolidation of these Chapter 15 Cases.

          8.         Notice of the Motion as provided therein shall be deemed good and sufficient notice of

such Motion and requirements of the Bankruptcy Rules and the Local Rules are satisfied by such

notice.

          9.         The Foreign Representative is authorized to take all actions necessary to effectuate the

relief granted pursuant to this Order in accordance with the Motion.

          10.        The terms and conditions of this Order shall be immediately effective and enforceable

upon its entry, and the clerk of the Court is hereby directed to enter this Order on the docket in each

Chapter 15 Case of the Debtors.


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         11.         The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and/or enforcement of this Order.




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